284 U.S. 571
    52 S.Ct. 26
    76 L.Ed. 497
    DE FOREST RADIO COMPANY, petitioner,v.GENERAL ELECTRIC COMPANY.
    No. 630.
    Supreme Court of the United States
    October term, 1930.
    October 19, 1931
    
      Messrs. Samuel E. Darby, Jr., of New York City, and Thomas G. Haight, of Jersey City, N. J., for petitioner.
      Mr. Ralph B. Evans, of Philadelphia, Pa., for respondent.
    
    
      1
      Ordered, that the opinion in this case be amended as follows:
    
    
      2
      (1) By substituting for the words 'In July, 1912,' in the 12th line of the last paragraph of the opinion, the following:
    
    
      3
      'August 20, 1912, the earliest date claimed for Langmuir, was      rejected, rightly, we think, by the District Court, which      held that Langmuir was anticipated by Arnold in November,      1912. But before the earlier date,'
    
    
      4
      (2) By substituting for the 3d sentence from the end of the following:
    
    
      5
      'By August, 1912, the Telegraph Company used De Forest      amplifying audions at 54 volts, and, by November, they were      used by another at 67 1/2 volts. This was possible only      because the tubes had thus been exhausted of gas which would      otherwise have ionized with blue glow at from 20 to 30      volts.'
    
    